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                     UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF ARKANSAS
                           WESTERN DIVISION

ARTHUR CARSON; and                                                         PLAINTIFFS
JEWELLEAN MOORE,

v.                                CASE NO. 4:15CV00193 BSM

JODIE SUMLIN, COLONIAL PARC APT.;
and APPFOLIO INC.,                                                       DEFENDANTS

                                        ORDER

      The motion to alter or amend order filed by plaintiffs Arthur Carson and Jewellean

Moore [Doc. No. 8] is denied. A review of the financial affidavits submitted by plaintiffs

indicates that they should be able to make payments as required by the April 9, 2015, order

[Doc. No. 4]. Accordingly, plaintiffs’ amended requests to proceed in forma pauperis [Doc.

Nos. 6 & 7] are denied.

      IT IS SO ORDERED this 17th day of April 2015.


                                                  ________________________________
                                                  UNITED STATES DISTRICT JUDGE
